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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA                   :
                                           :
           v.                              :          Case #2:18-cr-00193-NIQA-1
                                           :
DKYLE JAMAL BRIDGES                        :

                                       ORDER

       AND NOW, to wit, this            day of              2018,   this   Court   having

considered Defendant Dkyle Jamal Bridges’ Motion to Sever, and the Government’s response

thereto, it is hereby ORDERED that the Defendant’s Motion is GRANTED, and the charges

against Defendant Dkyle Jamal Bridges are severed from those charges against Defendant

Kristian Jones.



                                                 BY THE COURT:




                                                        Nitza I Quinones Alejandro, DCJ
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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA                       :
                                               :
           v.                                  :           Case #2:18-cr-00193-NIQA-1
                                               :
DKYLE JAMAL BRIDGES                            :

                          DEFENDANT’S MOTION TO SEVER

TO THE HONORABLE NITZA I QUINONES ALEJANDRO, JUDGE OF THE SAID COURT:

       Defendant, Dkyle Jamal Bridges, by and through his attorney, Andrew David Montroy,

hereby moves to sever all charges against him from those charges against the co-defendant,

Kristian Jones, pursuant to Rule 14 of the Federal Rules of Criminal Procedure. For the reasons

set forth in the attached Memorandum of Law, incorporated herein by reference, a joint trial for

Mr. Bridges and Mr. Jones would violate Mr. Bridges’ Sixth Amendment confrontation rights

warranting a Rule 14 severance.

       WHEREFORE, for the reasons set forth in the accompanying Memorandum of Law, as

well as any other reasons which may become apparent at a hearing or the Court deems just,

Defendant, Dkyle Jamal Bridges, respectfully requests this Honorable Court grant this Motion

and sever all charges against Defendant Bridges from those charges against Defendant Jones

pursuant to Rule 14.

                                                   Respectfully submitted,


                                                               /s/ Andrew Montroy
                                                   Law Offices of Andrew David Montroy
                                                   By: Andrew David Montroy, Esquire
                                                   1500 Walnut Street, 22nd Floor
                                                   Philadelphia, PA 19102
                                                   (215) 735-1850
                                                   amontroy@gmail.com
                                                   Attorney for Defendant Bridges
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                            IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA                                    :
                                                            :
                v.                                          :          Case #2:18-cr-00193-NIQA-1
                                                            :
DKYLE JAMAL BRIDGES                                         :

                              MEMORANDUM OF LAW IN SUPPORT OF
                                DEFENDANT’S MOTION TO SEVER

           Defendant, Dkyle Jamal Bridges, is charged with:                Conspiracy to Engage in Sex

Trafficking via Force, Threats and Coercion, and in Sex Trafficking of Minors, in violation of 18

U.S.C. §1594(c); two counts of Distribution of Sex Trafficking, in violation of 18 U.S.C.

§1591(a)(1), (b)(1); three counts of Sex Trafficking of Minors Via Force, Threats and Coercion,

in violation of 18 U.S.C. §1591(a)(1), (b)(1) and (b)(2); and, Aiding and Abetting, in violation of

18 U.S.C. §2. A joint trial of Mr. Bridges and Mr. Jones presents the dangerous situation of

introducing inculpatory statements against Mr. Bridges without the opportunity of cross

examination. Such a trial would violate Mr. Bridges’ Sixth Amendment confrontation rights.

Therefore, in accordance with Rule 14 of the Federal Rules of Criminal Procedure, all charges

against Mr. Bridges should be severed from those charges against Mr. Jones.

I.         BACKGROUND

           On May 10, 2018, Mr. Bridges was indicted along with Mr. Jones for Conspiracy to

Engage in Sex Trafficking under the above-referenced statutes. Previously, on November 15,

2016, Mr. Jones was arrested along with two other juvenile women, N.G. and L.C., who were

charged with prostitution.1 Cell phones that are alleged to belong to Mr. Jones and N.G. were

recovered. There are several text message conversations between N.G. and Mr. Jones that

1
    Counts Five and Six of the Indictment incorporate this incident.
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discuss the alleged prostitution while it is contemporaneously occurring. Following his arrest,

there are recorded phone conversations that Mr. Jones made from George W. Hill Correctional

Facility in Delaware County, Pennsylvania. One of these conversations takes place with another

male and further discusses the arrest and what occurred on November 15, 2016, and implicates

Mr. Bridges. The Government has also indicated that there are several prison phone calls that

Mr. Jones made while incarcerated at the Federal Detention Center in Philadelphia, which the

Government intends to introduce.2

II.        DISCUSSION

           Pursuant to Fed. R. Crim. P. 14(a):

           If the joinder of offenses or defendants in an indictment, an information, or a
           consolidation for trial appears to prejudice a defendant or the government, the court may
           order separate trial of counts, sever the defendants’ trials, or provide any other relief that
           justice requires.

The Supreme Court has explained a severance is warranted where “there is a serious risk that a

joint trial would compromise a specific trial right of one of the defendants, or prevent the jury

from making a reliable judgment about guilt or innocence.” Zafiro v. United States, 506 U.S.

534, 539 (1993). “[e]vidence that is probative of a defendant’s guilt but technically admissible

only against a co-defendant also might present a risk of prejudice.” Id. (citing Bruton v. United

States, 391 U.S. 123 (1968)). Moreover, Rule 14’s Advisory Committee Notes specifically

contemplate that such prejudice can occur where a statement or confession of a co-defendant is

admitted at trial against the defendant where the co-defendant does not testify. Fed. R. Crim. P.

14, Advisory Committee Notes. This is because “[l]imiting instructions to the jury may not in

fact erase the prejudice.” Id. While the defendant has the burden of showing “clear and

substantial prejudice” resulting “in a manifestly unfair trial,” which is a showing of more than


2
    Counsel has not received these recorded conversations in discovery as of the filing of this motion.
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simply a better chance of acquittal, prejudice of a constitutional dimension such as the admission

of a non-testifying co-defendant’s confession should meet that burden. See, United States v.

Eurfrasio, 935 F.2d 553, 568 (3d. Cir. 1991), cert. denied sub. nom., Idone v. United States, 502

U.S. 925 (1991),

       A.      By allowing the presentation of statements by Mr. Jones inculpating Mr.
               Bridges without the chance for cross-examination, the Court would be
               committing a Bruton violation.

       The Sixth Amendment to the United States Constitution provides that “[i]n all criminal

prosecutions, the accused shall enjoy the right . . . to be confronted with the witnesses against

him . . .” U.S. Const. Amend. VI. Inherent in this right is the right of the accused to cross-

examine witnesses against him. Bruton, 391 U.S. at 126 [citation omitted]. The Supreme Court

has expressly stated, “[w]here testimonial evidence is at issue . . . the Sixth Amendment demands

what the common law required: unavailability and a prior opportunity for cross-examination.”

Crawford v. Washington, 541 U.S. 36, 68 (2004).

       A defendant’s Sixth Amendment right to confrontation is violated during a joint trial

where the trial court admits an inculpatory statement or confession by a co-defendant who has

exercised his right not to testify. Bruton, 391 U.S. at 127-28. The Third Circuit has further

explained a “Bruton analysis is triggered where an admission of a co-defendant is so ‘powerfully

incriminating’ or ‘devastating’ that a limiting instruction fails to adequately safeguard the

defendant’s Sixth Amendment rights.” United States v. Mckee, 506 F.3d 225, 249 (3d. Cir.

2007) (quoting Bruton, 391 U.S. at 135-36). As noted above, a Bruton violation is the very type

of prejudice Rule 14 seeks to prevent. Fed. R. Crim. P. 14, Advisory Committee Notes; Zafiro,

506 U.S. at 539.

       In Bruton, the Supreme Court explained the admission of a declarant/co-defendant’s

confession inculpating the defendant during a joint trial creates a situation where the jury is
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incapable of compartmentalizing the evidence and following a limiting instruction to consider

the confession as evidence of only the declarant/co-defendant’s guilt. Bruton, 391 U.S. at 131.

The Supreme Court further reasoned,

       Not only are the incriminations devastating to the defendant but their credibility is
       inevitably suspect, a fact recognized when accomplices do take the stand and the
       jury is instructed to weigh their testimony carefully given the recognized
       motivation to shift blame onto others. The unreliability of such evidence is
       intolerably compounded when the alleged accomplice, as here, does not testify
       and cannot be tested by cross-examination.

Id. at 136. As such, when a co-defendant provides a confession or inculpating statement, the

court should sever the charges to ensure a fair trial for the non-confessing or inculpated co-

defendant.

       With inculpatory statements against Mr. Bridges by a co-defendant and the unavailability

of an effective limiting instruction, the admission of the inculpatory statements would present a

clear Bruton violation.

       B.      Redaction of Mr. Jones’ statements will not cure a Bruton violation. Even
               redacted, Mr. Jones’ statements would directly implicate Mr. Bridges

       In Richardson v. Marsh, the Supreme Court clarified its earlier ruling in Bruton,

concluding, “the Confrontation Clause is not violated by the admission of a non-testifying co-

defendant’s confession with a proper limiting instruction when, as here, the confession is

redacted to eliminate not only the defendant’s name, but any reference to his or her existence.”

Richardson v. Marsh, 481 U.S. 200, 211 (1987). Eleven years later, the Supreme Court again

reviewed the Bruton rule, holding a non-testifying co-defendant’s statement redacted to “replace

[] a defendant’s name with an obvious indication of deletion, such as a blank space, the word

‘deleted,’ or a similar symbol,” is insufficient to cure a Bruton violation. Gray v. Maryland, 523

U.S. 185, 192 (1998). The Court noted the jury “will often realize that the confession refers
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specifically to the defendant.” Id. at 193. Further, such obvious deletions often draw special

attention to the deleted name and “are directly accusatory.” Id. at 193-94.

       Synthesizing these precedents, the Third Circuit has found a Bruton violation occurs in

two circumstances,

       The first basis for a violation would be if the trial court erroneously admitted into
       evidence or allowed the use at trial of a statement that on its face incriminated the
       objecting defendant. The second basis for a violation would be if the court
       admitted into evidence or allowed the use at trial of a statement that became
       incriminating when linked with other evidence in the case.

Vasquez v. Wilson, 550 F.3d 270, 279 (3d Cir. 2008). Decisions from the Courts of Appeals

have wrestled with the issue of when the use of neutral pronouns or “placeholders” is sufficient

to satisfy the Bruton rule.

       When considering whether a redaction is sufficient to satisfy Bruton, the number of

defendants in the case and the number of people implicated by the co-defendant’s statement are

essential to the determination. Id. at 282 (citing Priester v. Vaughn, 382 F.3d 394, 399-401 (3d

Cir. 2004)). In Priester, the defendant had been involved in a group shooting of several victims.

Priester, 382 F.3d at 396. The Third Circuit held a redacted statement was admissible where the

placeholders used – “the other guy” and “another guy” – did not directly reference only the

objecting defendant. Id. at 399-401. Since the case involved fifteen alleged gang members in

various cars connected to a shooting, the court recognized the redacted statement – where

removed references to every name in the statement – was “unclear as to the people in the first

car, in the second car,” and “who was shooting when and from which car.” Id. at 399-400.

       Conversely, in United States v. Richards, the Third Circuit found a Bruton violation

where two co-defendants were charged with the armed robbery of a Brinks truck. United States

v. Richards, 241 F.3d 335, 341 (3d Cir. 2001), cert. denied, 533 U.S. 960 (2001). In Richards,

one of the defendants made a formal statement implicating his “friend” as well as an inside man
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as his accomplices. Id. Since the inside man was easily identified as the unindicted driver of the

Brinks van, “the reference to ‘my friend’ sharply incriminated Richards, the only other person

involved in th[e] case.” Id. To further support the inference that the friend was Richards, the

prosecutor called the co-defendant’s mother to testify her son was indeed friends with him. Id.

As such, the use of the words “friend” and “inside man” were insufficient to avoid a Bruton

violation.

         Similarly, in United States v. Hardwick, four defendants were charged with drug

trafficking offenses, and two co-defendants challenged the admission of a redacted proffer

statement made by another defendant. United States v. Hardwick, 544 F.3d 565, 568, 572 (3d

Cir. 2008), cert. denied, 555 U.S. 1200 (2009). The proffer statement directly implicated two co-

defendant’s in a murder, but were redacted to read “others,” “another person,” or “others in the

van.” Id. at 572-73. Even though there were multiple co-defendants in the case, only two were

charged with the murder. Id. at 573. These two co-defendants were the only passengers in the

van from which the killers emerged, making the redaction ineffective at curing the Bruton

problem. Id.. See also, Vasquez, 550 F.3d at 281 (where two out of three individuals allegedly

involved with a shooting were on trial, the admission of a co-defendant’ s statements implicating

Vasquez was a Bruton violation where it was redacted to read “my boy” or “the other guy”

because the jury would likely conclude the co-defendant was the driver, and only Vasquez or the

individual not on trial could have done the shooting).

         In this case, there is no redaction capable of curing the Bruton violation. In a case more

like Richards than Priester, the current alleged crime involves only two individuals, Bridges and

Jones.
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       For the aforementioned reasons, Mr. Bridges submits that a joint trial in this matter

presents a Bruton problem that cannot be cured unless Mr. Jones testifies and subjects himself to

cross-examination by Mr. Bridges’ counsel. However, Mr. Jones is allowed to make the decision

to testify up until his defense is ready to rest. If at such time, Mr. Jones decided not to testify,

Mr. Bridges would move for a mistrial based upon a violation of his Sixth Amendment

confrontation rights. Such a mistrial, once granted, would contravene the principle of judicial

economy upon which our joinder rules are based. In order to avoid this situation, the Court

should sever those charges against Mr. Bridges from those charges against Mr. Jones pursuant to

Rule 14.

III.   CONCLUSION

       The admission of Mr. Jones’ statements at a joint trial with Mr. Bridges would

contravene Mr. Bridges’ Sixth Amendment right to confront Mr. Jones should Mr. Jones choose

not to testify. Therefore, the defense respectfully submits the charges against Mr. Bridges must

be severed from those charges against Mr. Jones pursuant to Rule 14 to avoid a deprivation of

Mr. Bridges’ constitutional rights.



                                                     Respectfully submitted,


                                                                 /s/ Andrew Montroy
                                                     Law Offices of Andrew David Montroy
                                                     By: Andrew David Montroy, Esquire
                                                     1500 Walnut Street, 22nd Floor
                                                     Philadelphia, PA 19102
                                                     (215) 735-1850
                                                     amontroy@gmail.com
                                                     Attorney for Defendant Bridges
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                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA                        :
                                                :
           v.                                   :           Case #2:18-cr-00193-NIQA-1
                                                :
DKYLE JAMAL BRIDGES                             :

                               CERTIFICATE OF SERVICE

       I, Andrew David Montroy, Esquire, hereby certify that I am this day electronically filing

Defendant’s Motion to Sever and supporting Memorandum of Law, as well as serving a true and

correct copy of same upon the following by first class mail, postage prepaid:

                              Seth M. Schlessinger, Asst. U.S. Atty.
                              Office of the United States Attorney
                              615 Chestnut Street, Suite 1250
                              Philadelphia, PA 19106

                              Leigh Michael Skipper, Esquire
                              Defender Association of Philadelphia
                              The Curtis Center, Suite 540 West
                              Independence Square West
                              Philadelphia, PA 19106
                              Attorney for Defendant Jones


                                                                /s/ Andrew Montroy
                                                    Law Offices of Andrew David Montroy
                                                    By: Andrew David Montroy, Esquire
                                                    1500 Walnut Street, 22nd Floor
                                                    Philadelphia, PA 19102
                                                    (215) 735-1850
                                                    amontroy@gmail.com
                                                    Attorney for Defendant Bridges
DATED: October 18, 2018
